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                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION

IN RE:                                                               Case No:     06-32011-13
Shuntay R White                                                      DATED:       6/1/2006
                                                                     Chapter:     13
Debtor(s)                                                            EIN:
Attorney Phone No:     (972) 516-4205                                Judge:


                                DEBTOR'S(S') CHAPTER 13 PLAN AND MOTION FOR VALUATION
                                                       SECTION I
                                  DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                 FORM REVISED 11-2-05

This Plan contains non-standard provisions:      ¨ yes þ no
A.   DEBTOR PAYMENTS           DEBTOR(S) PROPOSES TO PAY TO THE TRUSTEE THE SUM OF                 Variable*       PER MONTH
                               FOR           60          MONTHS FOR A TOTAL OF $28,030.00          .
                               FIRST PAYMENT IS DUE            6/18/2006    .
                               THE ESTIMATED UNSECURED CREDITORS POOL IS                              calculated as:
                                                  (Disposable income per § 1325(b)(2)) x  36 months       (Commitment
                               period per § 1325(b)(4)), but not less than    $0.00      pursuant to § 1325(a)(4).

B.   ADMINISTRATIVE AND DSO CLAIMS:

     1.   CLERK'S FILING FEE: Total filing fees paid through the plan are              $0.00        and shall be paid in full prior to
          disbursements to any other creditor.

     2.   TRUSTEE FEES AND NOTICING FEES: Trustee fees and any noticing fees shall be paid first out of each disbursement
          and as provided in General Order 2005-5.
     3.   DOMESTIC SUPPORT OBLIGATIONS: Debtor to pay all post-petition Domestic Support Obligatiions (as defined in
          § 101(14A)) directly to the holder of such obligation prior to discharge. Pre-petition Domestic Support Obligations to be
          paid:

                                   NAME                                          CLAIM         TERM (APPROXIMATE)             PAYMENT

          The name(s), address(es) and telephone numbers of the holder(s) of any Domestic Support Obligation(s) (IF KNOWN)
          are as follows:

C.   ATTORNEY FEES: TO                                          , TOTAL:  $3,000.00    ;
         $156.00     PRE-PETITION;                 THROUGH TRUSTEE. PRE-CONFIRMATION PAYMENTS TO
     DEBTOR'S ATTORNEY WILL BE PER THE AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS. POST-
     CONFIRMATION PAYMENTS TO DEBTOR'S ATTORNEY WILL BE MADE FROM FUNDS REMAINING AFTER PAYMENT
     OF ADMINISTRATIVE AND DSO CLAIMS AS PROVIDED ABOVE ('B') AND EACH SPECIFIED MONTHLY PLAN PAYMENT
     TO SECURED CREDITORS ('D' AND/OR 'E' BELOW) BUT BEFORE ANY PAYMENT TO PRO RATA SECURED
     CREDITORS ('D' AND/OR 'E' BELOW) AND BEFORE AND PAYMENT TO PRIORITY CREDITORS ('H' BELOW) OR
     UNSECURED CREDITORS ('I' AND 'J' BELOW).

D.   HOME MORTGAGE


                MORTGAGEE                        ARR. AMT        ARR. THROUGH            %      TERM (APPROXIMATE)             PAYMENT

E.(1) SECURED CREDITORS--PAID BY THE TRUSTEE


                  CREDITOR /                       CLAIM              VALUE              %      TERM (APPROXIMATE)             PAYMENT
                 COLLATERAL
Toyota Motor Credit Corporation                     $20,073.24        $15,500.00      9.00%          Month(s) 1-60                    Pro-Rata
2002 Toyota Camry
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Debtor(s):   Shuntay R White


E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE

                 CREDITOR /                         CLAIM             VALUE                 %     TERM (APPROXIMATE)               PAYMENT
                COLLATERAL                            PAY (claim or value)

TO THE EXTENT THE VALUE AMOUNT IN E(2) IS LESS THAN THE CLAIM AMOUNT IN E(2), AND THE DEBTOR IS NOT
PROPOSING TO PAY THE CLAIM AMOUNT, THE CREDITOR SHALL HAVE THE OPTION OF REQUIRING THE DEBTOR TO
SURRENDER THE COLLATERAL BY OBJECTING TO THE PROPOSED TREATMENT. ABSENT SUCH OBJECTION, THE
CREDITOR SHALL BE DEEMED TO HAVE ACCEPTED THE PROPOSED TREATMENT.

THE VALUATION OF COLLATERAL AND INTEREST RATE TO BE PAID ON THE ABOVE CLAIMS IN E(1) AND E(2) WILL BE
FINALLY DETERMINED AT CONFIRMATION.

F.   SECURED CREDITORS--COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                      CLAIM               VALUE                 TREATMENT
                           COLLATERAL

The Automatic Stay will terminate as to Collateral listed in this paragraph upon filing hereof but nothing in this Plan shall be
deemed to abrogate any applicable non-bankruptcy law contract rights of the Debtor(s).

G. SECURED CREDITORS--PAID DIRECT BY DEBTOR

                            CREDITOR /                                      CLAIM               VALUE                 TREATMENT
                           COLLATERAL
H.   PRIORITY CREDITORS:

                                CREDITOR                                          CLAIM          TERM (APPROXIMATE)            PAYMENT
I.   SPECIAL CLASS:

                              CREDITOR /                                          CLAIM          TERM (APPROXIMATE)            PAYMENT
                             JUSTIFICATION

J.   UNSECURED CREDITORS

                     CREDITOR                                     CLAIM                                  COMMENT
Credit Bureau of Columbus Services                                     $0.00
Credit Collection Services                                            $222.00
Law Office of Greg Wiley P.L.L.C.                                   $2,844.00

UNSECURED CREDITORS ARE NOT GUARANTEED A DIVIDEND WHEN A PLAN IS CONFIRMED, SEE LOCAL BANKRUPTCY
RULE 2005-05. UNSECURED CREDITORS MAY RECEIVE A PRO-RATA SHARE OF THE UNSECURED CREDITOR POOL
LESS ONLY ALLOWED DEBTOR'S ATTORNEY FEE.
K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                       § 365 PARTY                           ASSUME/REJECT          CURE AMOUNT                    TREATMENT
                                                                                    $0.00
L. 'TERM (APPROXIMATE)' SHOWN HEREIN GIVES THE ESTIMATED NUMBER OF MONTHS FROM THE DATE OF CONFIRMATION
REQUIRED TO FULLY PAY THE BALANCE OF THE CLAIM AS OF THE DATE OF CONFIRMATION. THE CALCULATION ASSUMES
DEBTOR WILL TIMELY MAKE ALL PAYMENTS DUE BETWEEN DATE HEREOF AND DATE OF CONFIRMATION. (NOTE: IF
ADEQUATE PROTECTION PAYMENTS HAVE BEEN AUTHORIZED AND MADE, THEY WILL BE APPLIED TO PRINCIPAL AS TO
UNDER-SECURED CLAIMS AND ALLOCATED BETWEEN INTEREST AND PRINCIPAL AS TO OVER-SECURED CLAIMS.
PAYMENT PURSUANT TO THIS PLAN WILL ONLY BE MADE TO SECURED, ADMINISTRATIVE, PRIORITY AND UNSECURED
CLAIMS THAT HAVE BEEN ALLOWED OR THAT THE DEBTOR HAS AUTHORIZED IN AN ADEQUATE PROTECTION
AUTHORIZATION.

M. ADDITIONAL PLAN PROVISIONS:
   None.
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                                                        SECTION II
                                    DEBTOR'S(S') CHAPTER 13 PLAN--GENERAL PROVISIONS
                                                   FORM REVISED 11-2-05

A.   SUBMISSION OF DISPOSABLE INCOME
Debtor(s) hereby submits such portion of future earnings or other future income as hereinafter provided to the supervision and
control of the Trustee as necessary for the execution of the Plan as hereinafter provided.

Debtor proposes to PAY TO THE TRUSTEE the sums indicated in Section I, Part "A" hereof. If applicable, cause exists for
payment over a period of more than three (3) years.

Payment of any claim against the Debtor may be made from the property of the estate or property of the Debtor(s), as herein
provided.

B.   ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY FEES AND NOTICING FEES

The Administrative Expenses of the Trustee shall be paid in full pursuant to 11 U.S.C. Sec 105(a), 503(b), 1326(b)(2), and 28
U.S.C. Sec 586(e)(1)(B). The Trustee's Fees & Expenses, not to exceed ten percent (10%) allowed pursuant to 28 U.S.C. Sec
586(e)(1)(B), shall be deducted from each payment. Additionally, the Trustee is authorized to charge and collect Noticing Fees
as indicated in Section I, Part "B" hereof, pursuant to local rule. No Trustee fee will be collected on Noticing Fees. Debtor will
pay in full all Domestic Support Obligations that are due before discharge (including amounts due before the petition was filed,
but only to the extent provided for in this Plan).

C.   ATTORNEY FEES

Debtor's(s') Attorney Fees totaling the amount indicated in Section I Part "C", shall be paid by the Trustee pursuant to this Plan
and the Debtor's(s') Authorization for Adequate Protection Disbursements.

D.   PRINCIPAL RESIDENCE ARREARAGES (HOME MORTGAGES)

Arrearage on claims secured only be a security interest in the Debtor's(s') principal residence shall be paid by the Trustee in the
amount and at the Annual Percentage of interest indicated in Section I, Part "D" herein. To the extent interest is provided, interest
will be calculated from the date of the Petition. The principal balance owing upon confirmation of the Plan on the allowed
secured claim shall be reduced by the total of adequte protection paid less any interest (if applicable) made to the respective
creditor by the Trustee. Post petition payments may be paid "Direct" by Debtor(s), beginning with the first payment du after the
'ARR. THROUGH' date in Section I, Part "D". Such creditors shall retain their liens.

E.(1)    SECURED CLAIMS TO BE PAID BY TRUSTEE

The claims listed in Section I, Part "E(1)" shall be paid by the Trustee as 'SECURED' to the extent of the lesser of the allowed
amount of the claim, as shown, or the VALUE, as shown, of the collateral which will be retained by the Debtor(s). Any amount
claimed in excess of the value of the collateral as shown shall automatically be "split" and treated as indicated in Section I, Part
"H" or in 11 USC 1325(a)(5)(B)(i) unless otherwise provided in Section II part "M" or order of the court. The principal balance
owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection paid less
any interest (if applicable) paid to the respective creditor by the Trustee.

E.(2)    Section 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE

Claims in Section I, Part "E(2)" are either debts incurred within 910 days of the Petition date secured by a purchase money
security interest in a vehicle or a debt incurred within one year of the petition date secured by any other thing of value.

The claims shall be paid as indicated. Such creditors shall retain their liens on the collateral described in Section I, Part E(2)
until the earlier of the payment of the underlying debt determined under non-bankruptcy law or discharged under Section 1328
and shall receive interest at the Annual Percentage Rate indicated from the date of confirmation hereof, or if the claim is fully
secured, from the date of the Petition. The principal balance owing upon confirmation of the Plan on the allowed secured claim
shall be reduced by the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the
Trustee.

To the extent a secured claim not provided for in Section I Part "D", "E(1)" or "E(2)" is allowed by the Court, Debtor(s) will pay the
claim 'DIRECT' per the contract. Each secured claim shall constitute a separate class.

TO THE EXTENT THE VALUE AMOUNT IN E(2) IS LESS THAN THE CLAIM AMOUNT IN E(2), AND THE DEBTOR IS NOT
PROPOSING TO PAY THE CLAIM AMOUNT, THE CREDITOR SHALL HAVE THE OPTION REQUIRING THE DEBTOR TO
SURRENDER THE COLLATERAL BY OBJECTING TO THE PROPOSED TREATMENT. ABSENT SUCH OBJECTION, THE
CREDITOR SHALL BE DEEMED TO HAVE ACCEPTED THE PROPOSED TREATMENT.
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F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL
The claims listed in Section I, Part "F" shall be satisfied as 'SECURED' to the extent of the VALUE of the collateral, as shown, by
SURRENDER of the collateral by the Debtor(s) on or before Confirmation. Any amount claimed in excess of the value of the
collateral as shown, to the extent it is allowed, shall be automatically "split" and treated as indicated in Section I, Part "H" or "J"
per 11 U.S.C. Sec 506(a). Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S)

All secured claims listed in Section I, Part "G" shall be paid 'DIRECT' by the Debtor(s) in accordance with the terms of their
agreement, unless otherwise provided in Section I, Part "M". Each secured claim shall constitute a separate class.

H.   PRIORITY CLAIMS

All allowed claims entitled to priority under Section 507(a) of the Bankruptcy Code will be paid in full (except as provided in
Section 1322(a)(4)) in deferred installment unless the holder of such claim agrees to a different treatment of such claim. The
claims listed in Section I, Part "H" shall be paid by the Trustee, in full, as Priority, without interest at the monthly amount
indicated, or pro rata.

Priority claims for taxes are unsecured and shall not accrue interest or penalty subsequent to the filing, and such interest or
penalty as might otherwise accrue thereafter shall be discharged upon completion of the Plan.

I.   CLASSIFIED UNSECURED CLAIMS

Classified unsecured claims shall be treated as allowed by the Court.

J.   GENERAL UNSECURED CLAIMS TIMELY FILED

All other claims not otherwise provided for herein shall be designated general unsecured claims. Payments, if any, to general
unsecured claims will be on a pro rata basis. All allowed general unsecured claims shall be paid in an amount under the Plan
which is not less than the amount that would be paid on such claims if the estate of teh Debtor(s) were liquidated under Chapter
7 of the Bankruptcy Code on the date of filing of the Petition herein.

Any delinquencies under the Plan on allowed secured claims, allowed priority claims and allowed classified unsecured claims
must be brought current before any payments are made on general unsecured claims.

General unsecured claims may be paid concurrently with secured, priority and classified unsecured claims so long as each
secured, priority, and classified unsecured creditor is receiving not less than its monthly installment as provided herein. If the
indicated monthly amount is insufficient to fully pay the monthly payment provided for such allowed secured, priority or classified
unsecured claim(s) respectively, the Trustee shall pay in the following order: each classification of such allowed secured claim
(s), priority claim(s) and classified unsecured claim(s) pro rata until all such payments within each subclass are current, prior to
any other payments to allowed general unsecured claims.

General unsecured claims totaling the amount indicated in Section I Part "J", shall be paid by the Trustee, a PRO RATA share of
the unsecured creditors pool estimated in Section I, Part "A" less debtors attorney fee, or funds remaining after all other
payments provided herein. This share is estimated to be the approximate amount indicated in Section I, Part "A" or the
estimated % (if any) shown above.

K.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

As allowed by Section 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assumes or rejects the executory contracts or unexpired
leases with the parties so indicated in Section I, Part "K".

L.   CLAIMS TO BE PAID

See Section I, Part "L" of the Plan.

M. ADDITIONAL PLAN PROVISIONS

The provisions set forth in Section I, Part "M" are additional Plan provisions not otherwise referred to herein.

N. POST-PETITION CLAIMS
Claims filed under Section 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor will modify
this Plan.
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Debtor(s):     Shuntay R White


O. LATED FILED CLAIMS AND CLAIMS NOT FILED
Late filed unsecured claims on pre-petition debt shall be paid pro rata, only after all other timely filed unsecured claims are paid
in full. Such payment shall be before any payment on pre-petition non-pecuniary penalties. Late filed claims on priority pre-
petition claims shall be paid in full before any payment on late filed general unsecured pre-petition claims. Late filed secured
claims shall be paid in full before any payment on late filed priority claims.

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I.

P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR PUNITIVE
     DAMAGES

Any unsecured claim for non-pecuniary penalty, fines, forfeitures, multiple, exemplary or punitive damages, expressly including
IRS penalty to date of petition on unsecured and/or priority claims, shall be paid only on a pro rata share of any funds remaining
after all other unsecured claims including late filed claims, shall have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R.   BUSINESS CASE OPERATING REPORTS

Upon confirmation, business debtors are no longer required to file operating reports with the Trustee, unless the Trustee
requests otherwise. However, a final operating report through the date of confirmation is required if operating reports were
previously required. Confirmation hereof shall terminate the Trustee's duties to investigate or monitor the debtor's business
affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRECONFIRMATION OPERATIONS

The Trustee shall not be liable for any claims arising from the post-confirmation operation of Debtor's business. Any claims
against the Trustee arising from the preconfirmation operation of the Debtor's business must be filed with the Bankruptcy Court
within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation hereof, or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY AND TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION
     OR DISMISSAL

Debtor shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior to
discharge without consent of the Trustee or order of the Court after notice to the Trustee and all creditors. Upon conversion or
dismissal of the case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan.

U.   ORDER OF PAYMENT

All claims shown in Section I, will be paid in the following order from each disbursement, to the extent allowed:

     1st --    Administrative Fees and DSO claims in "B"
     2nd --    Specified monthly dollar amounts to secured claims in "D", "E(1)", and "E(2)"
     3rd --    Pro-rata among attorney fees in "C"
     4th --    Pro-rata among secured claims in "D", "E(1)" and "E(2)"
     5th --    Specified monthly dollar amounts to priority claims in "H"
     6th --    Pro-rata among priority claims in "H"
     7th --    Specified monthly dollar amounts to special class claims in "I"
     8th --    Pro-rata among special class claims in "I"
     9th --    Pro-rata among claims in "J" other than late filed and penalty claims
     10th --   Pro-rata among late filed priority claims in "H"
     11th --   Pro-rata among late filed general unsecured claims in "J"
     12th --   Pro-rata among penalty claims in "J".
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Debtor(s):   Shuntay R White


                                                        SECTION III
                                                   MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. Sec 506(a) and § 1325(a)(5) and for purposes of determination of
the amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby moves the Court to
value the collateral described in Section I, Part "E" and Part "F", as the LESSER of the value set forth therein, or any value
claimed on the proof of claim. Any objection to valuation shall be filed at least five (5) business days prior to the date of the
Trustee's pre-hearing conference, or be deemed waived.

Respectfully submitted,                                        Case No.: 06-32011-13

/s/ Gregory Howard Wiley
Gregory Howard Wiley, Debtor's(s') Attorney

24043992
State Bar Number
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
IN RE: Shuntay R White                                                        CASE NO   06-32011-13

                     Debtor(s)                                                CHAPTER   13

                                    EXHIBIT "B" - VARIABLE PLAN PAYMENTS

                     PROPOSED PLAN OF REPAYMENT (VARIABLE PAYMENTS INTO THE PLAN)

 Month / Due Date       Payment                 Month / Due Date   Payment                   Month / Due Date   Payment
  1     06/18/2006        $300.00                21   02/18/2008    $470.00                   41   10/18/2009    $470.00
  2     07/18/2006        $470.00                22   03/18/2008    $470.00                   42   11/18/2009    $470.00
  3     08/18/2006        $470.00                23   04/18/2008    $470.00                   43   12/18/2009    $470.00
  4     09/18/2006        $470.00                24   05/18/2008    $470.00                   44   01/18/2010    $470.00
  5     10/18/2006        $470.00                25   06/18/2008    $470.00                   45   02/18/2010    $470.00
  6     11/18/2006        $470.00                26   07/18/2008    $470.00                   46   03/18/2010    $470.00
  7     12/18/2006        $470.00                27   08/18/2008    $470.00                   47   04/18/2010    $470.00
  8     01/18/2007        $470.00                28   09/18/2008    $470.00                   48   05/18/2010    $470.00
  9     02/18/2007        $470.00                29   10/18/2008    $470.00                   49   06/18/2010    $470.00
  10    03/18/2007        $470.00                30   11/18/2008    $470.00                   50   07/18/2010    $470.00
  11    04/18/2007        $470.00                31   12/18/2008    $470.00                   51   08/18/2010    $470.00
  12    05/18/2007        $470.00                32   01/18/2009    $470.00                   52   09/18/2010    $470.00
  13    06/18/2007        $470.00                33   02/18/2009    $470.00                   53   10/18/2010    $470.00
  14    07/18/2007        $470.00                34   03/18/2009    $470.00                   54   11/18/2010    $470.00
  15    08/18/2007        $470.00                35   04/18/2009    $470.00                   55   12/18/2010    $470.00
  16    09/18/2007        $470.00                36   05/18/2009    $470.00                   56   01/18/2011    $470.00
  17    10/18/2007        $470.00                37   06/18/2009    $470.00                   57   02/18/2011    $470.00
  18    11/18/2007        $470.00                38   07/18/2009    $470.00                   58   03/18/2011    $470.00
  19    12/18/2007        $470.00                39   08/18/2009    $470.00                   59   04/18/2011    $470.00
  20    01/18/2008        $470.00                40   09/18/2009    $470.00                   60   05/18/2011    $470.00
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Law Office of Greg Wiley P.L.L.C.
555 Republic Drive, Suite 200
Plano, Texas 75074



Bar Number: 24043992
Phone: (972) 516-4205
                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF TEXAS
                                                                  DALLAS DIVISION
                                                                            Revised 11-1-05

IN RE:                                                                               §
Shuntay R White                                                                      §       CASE NO: 06-32011-13
                                                                                     §
                                                                                     §
Debtor(s)
                                                                                     §


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                                            6/1/2006
                                                                                                                        DATED:________________.
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed in
accordance with General Order 2005-05, as indicated below:

 Periodic Payment Amount                                                                      Variable Plan Payments. See Monthly Schedule below.*

 Disbursements                                                                                                         First (1)                   Second (2) (Other)

 Account Balance Reserve                                                                                                     $5.00                        See below*

 Trustee Fee                                                                                                            $28.62                            See below*
 Filing Fee                                                                                                                  $0.00                        See below*

 Noticing Fee                                                                                                                $5.25                        See below*

 Subtotal Expenses/Fees                                                                                                 $38.87                           See below*
 Available for Adequate Protection, Attorney Fees and Undisputed
 Priority Claims:                                                                                                     $261.13                            See below*


SECURED CREDITORS:
                                                                                                                                      Adequate              Adequate
                                                                                              Scheduled             Value of          Protection           Protection
 Name                                          Collateral                                       Amount             Collateral        Percentage       Payment Amount

                                                             Total Adequate Protection Payments for Secured Creditors:                                         $0.00

PRIORITY CREDITORS:
                                                                                                                                      Adequate              Adequate
                                                                                              Scheduled             Value of          Protection           Protection
 Name                                          Collateral                                       Amount             Collateral        Percentage       Payment Amount

                                                               Total Adequate Protection Payments for Priority Creditors:                                      $0.00

                                                                                          Total Adequate Protection Payments:                                  $0.00

                                                             Funds Available For Debtor's Attorney First Disbursement:                                      $261.13
                                                          Funds Available For Debtor's Attorney Future Disbursements:                                    See below*

                                                              Available For Secured Creditors as Authorized by the Plan:                                   $424.41**




** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas - (210) 561-5300.
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  (H) Shuntay R White                        AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                         Page 2
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*Monthly Schedule

                                    Account            Related                                              Subtotal                                  Available
                     Plan           Balance           Expense               Filing       Noticing         Expenses/                       Available          for
  Month           Payment           Reserve         to Trustee              Fees           Fees               Fees            Available    for APD     Attorney
       1           $300.00              $5.00           $28.62             $0.00             $5.25            $38.87          $261.13        $0.00     $261.13




 DATED:________________________
         06/01/2006

  /s/ Gregory Howard Wiley
 Attorney for Debtor(s)                                                                     Trustee, Attorney for Trustee or Trustee's Representative




 ** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
 Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas - (210) 561-5300.
